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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

TOTAL REBUILD, INC. CIVIL ACTION

VERSUS

PHC FLUID POWER, LLC NO: 15-01855-BAJ-CBW
RULING AND ORDER

Before the Court is the Motion for Partial Summary Judgment (Doc. 60)
filed by Defendant PHC Fluid Power, LLC. Plaintiff Tota_l Rebuild filed an opposition
(Doc. 66), and Defendant nled a reply. (Doc. 141). For the following reasons the
Motion for Summary Judgment (Doc. 60) is DENIED.

I. BACKGROUND

This is a patent infringement case. The facts taken in the light most favorable
to Plaintiff are as follows Terry Lavergne has been the sole director, sole owner, and
sole shareholder of Total Rebuild, Inc., in Lafayette, Louisiana for nearly twenty
years. (Doc. 66-2 at 1| 2-3). Plaintiff Total Rebuild produces high pressure testing
systems (Doc. 50-7 at p. 4). On August 8, 2008, Lavergne filed a provisional patent
application for a high pressure safety system that he invented Id. at p. 5; (Doc. 66-2
at 11 7). The United States Patent Oft`lce issued Lavergne patent 8,146,428 (“428
Patent”) for the system on April 3, 2012. (Doc. 1-4). Lavergne developed the patented
safety system at Plaintiffs expense and at Plaintifl’ s facilities, Plaintiff has received
all the profits for the ‘428 Patent, and all costs and attorney’s fees to secure the patent

were paid by Plaintiff. (Doc. 66-2 at il 10-14).

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About three years after Lavergne received the patent_on March 26, 2015_
Lavergne assigned the ‘428 Patent to Plaintiff` in exchange for $1.00. (Doc. 60-2 at p.
3). The Assignment Agreement provides that “Lavergne desires to assign the rights
of Assignee and to transfer, sell, assign, and deliver any and all rights that he has or
may have in and to said invention and said Patent, worldwide, to Assignee, Total
Rebuild Inc[.]” Id. It then states that “[Lavergne] hereby sells, assigns, and transfers
to [Total Rebuild] the full and exclusive worldwide right, title and interest in and to
said Invention and said Patent[.]” Id.

On June, 11, 2015, Plaintif’c` sued Defendant for patent infringement, and
unfair competition and unfair trade practices in violation of the Louisiana Un.fair
Trade Practices Act. (Doc. 1). Plaintiii` alleges that Defendant is its direct competitor
and has been using a high pressure safety system that infringes on its patent. Id.
II. LEGAL STANDARD

Under the Federal Ru.les of Civil Procedure, “[t]he court shall grant summary
judgment if the movant shows that there is no genuine dispute as to any material
fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).
In determining whether the movant is entitled to summary judgment, the court views
the facts in the light most favorable to the non-movant and draws all reasonable
inferences in the non-movant‘s favor. Coleman, v. Hous. Indep. Sch. Dist., 113 F.Bd
528, 533 (5th Cir. 1997). At this stage, the Court does not evaluate the credibility of

witnesses, weigh the evidence, or resolve factual disputes Int’l Shortstop, Inc. v.

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Rally’s, Inc., 939 F.2d 1257, 1263 (5th Cir. 1991).
III. DISCUSSION

A. The Assignment Agreement

Defendant contends that because Plaintiff was not assigned rights to the ‘428
Patent until March 26, 2015, Plaintiff lacks standing to sue for acts of infringement
occurring before then. (Doc. 60-3 at p. 3). As a general rule, only a party that
possessed legal title to a patent at the time the infringement occurred can bring suit
to recover damages for such infringement See Mas~Hamilton Group v. LaGard, Inc.,
156 F.3d 1206, 1210 (Fed. Cir. 1998).1 But a party may sue for infringement that
occurred before it acquired legal title “if a written assignment expressly grants the
party a right to do so; that right, however, must be articulated explicitly in the
assignment and will not be inferred by the court.” Messagephone, In,c. v. SVI Sys.,
Inc., 243 F.Bd 556, 2000 WL 1141046, *4 (Fed. Cir. 2000), as amended on denial of
reh'g (Dec. 13, 2000); Arachnid, Inc. v. Merit Indus., Inc., 939 F.2d 1574, 1579 n.'?
(Fed. Cir. 1991) (holding an “assignment must be express, and cannot be inferred
from an assignment of the patent itself.”).

So, for example, in Minco, the United States Court of Appeals for the Federai
Circuit held that a company that had assigned a patent also had the right to sue for
past infringement because the assignment agreement stated that the assignee

“received all ‘right, title, and interest’ from [the assignor], including °all rights of

 

1 The United States Court of Appeals for the Federal Circuit has jurisdiction over appeals from federal
district courts in patent cases. 21 U.S.C. § 1295(a)(1). Decisions of the F ederal Circuit on questions
of patent law are thus binding precedent on al.l federal district courts Pan.du.it Corp. v. All States
Plastic Mfg. Co., 744 F.2d 1564, 1574-75 (Fed. Cir. 1984).

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action and damages for past infringement.’" Minco, Inc. v. Combusti,on Eng§g, Inc.,
95 F.Bd 1109, 1117 (Fed. Cir. 1996). By contrast, in Messagephone, the court held
that an assignment did not grant the assignee the right to sue for past infringement
because the assignment lacked explicit language conveying that right. 2000 WL
1141046, *5; see also IPXpharma, LLC v. Millennium Pharrn., Inc., No. 3:14-CV-1545,
2014 WL 697'7662, at *6 (M.D. Tenn. Dec. 9, 2014) (concluding that assignee did not
have right to sue for past infringement because the assignment “conveys only the
[assignor’s] ‘right, title and interest’ in the [patent], but it contains no explicit
reference to the right to sue for past infringement.”).

Here, Lavergne’s assignment grants Plaintiff “the full and exclusive worldwide
right, title and interest” in the ‘428 Patent. (Doc. 60-2 at p. 3). The assignment,
however, is silent as to Plaintiffs right to sue for past infringement Id. Courts have
repeatedly held that absent explicit language conveying the right to sue for past
infringement, the assignee lacks standing to sue for past infringement, and therefore
the Court concludes that the assignment agreement did not provide Total Rebuild
standing to sue for alleged infringement and damages that occurred before March 26,
2015.

B. Alter Ego

Plaintiff next argues that Lavergne is the alter ego of Totai Rebuild, and thus
Plaintiff Total Rebuild has standing to sue for past infringement (Doc. 66 at p. 16).
Generally speaking, rights to an invention belong to the inventor. Bd. of Trustees. v.

Roche Molecular Sys., 563 U.S. 776, 786 (2011). But if the inventor is the alter ego of

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a company because he has a close and intertwined relationship with the company,
then the company has total ownership over the invention. LeFiell v. United States
162 Ct. Cl. 865, 869 (1963).2 ln those circumstances the patent rights of the inventor
belong entirely to the company, even if there has been no express assignment of
rights. Id.

For example, in Lefiell, the court held the inventor was the alter ego of a
company because he was the president, general manager, and principal stockholder
of the company at the time the invention was made, the company‘s time, shop
facilities, employees, and finances were used in developing the invention, the
company paid the expenses associated with securing the patent, and the company
received all the profits from the patent. Id. at 870. Likewise, in Gerawan Farm,ing
v. Rehrig Pacific, the court held that the inventor was the alter ego of the company
because the inventor was the most senior officer at the company, he was one the
company’s directors, he had primary responsibility for product development,
including designing the invention at issue, and the company received all royalties
generated from his work on the invention. Gerawan Farming, Inc. v. Rehrig Pac. Co.,
No. 11-CV-01273, 2017 WL 1414637, at *4 (E.D. Cal. Apr. 8, 2013), a f'd, 587 F. App'x
654 (Fed. Cir. 2014).

Here, taking the facts in the light most favorable to Plaintiff, Lavergne was

the alter ego of Plaintiff` Total Rebuild. Like Lefiell and Gerawan, Lavergne had such

 

2 The Federai Circuit held that United States Court of Claims decisions issued before Septemher 30,
1982 are binding precedent on the Federa] Circuit. See S. Corp. u. United States, 690 F.2d 1368, 1369
(Fed. Cir. 1982). lt is axiomch that decisions of the Federa.l Circuit on questions of patent law are
binding precedent on all federal district courts. Partdu£t, 744 F.2d at 1574-75.

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a close and intertwined relationship with Plaintiff Total Rebuild, that the company
has total ownership over the ‘428 patent. Indeed, Lavergne has been the sole director,
sole owner, and sole shareholder of Total Rebuild for nearly twenty years. (Doc. 66-
2 at 1| 2-3). Lavergne developed the patented safety system at Plaintiffs expense and
at its facilities, Plaintiff received all the profits for the ‘428 Patent, and all costs and
attorney’ s fees to secure the patent were paid by Plaintiff. Id. at 11 10»14. Lavergne
also always believed that the ‘428 patent belonged to Plaintiff even though it was
issued in his name. Ici. at 11 16. There is therefore a genuine dispute of material fact
as to whether Lavergne is the alter ego of Plaintiff, and whether Plaintiff has
standing to sue for alleged infringement before Lavergne assigned the patent to
Plaintiff`.
IV. CONCLUSION

Accordingly,

IT IS ORDERED that the Motion for Partial Summary Judgment (Doc.

60) is DENIED.

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IT IS FURTHER ORDERED that a status conference is set for August 22,
2018 at 3:00 PM in the Chambers of Judge Brian A. Jackson at the Russell B. Long
Federal Building and United States Courthouse, 777 Florida Street, Baton Rouge,

LA. The parties should be prepared to discuss when to schedule a Markman hearing

Baton Rouge, Louisiana, this i__[ day of August, 2018.

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BRLAN A. JAszoN
UNITED sTA'rEs msTRICT JUDGE
MIDDLE DISTRICT 0F LoUIsIANA

